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 ON THE ABOVE DATE AND APPROX. TIME I, C/O HANDEGAN, WAS WORKING BOOKING AND HAD JUST
 DONE A CHECK AND WENT TO RLIEVE C/O AMBROSE FOR A BREAK. ABOUT ( 5 ) FIVE MINUTES
AFTER I GOT TO MASTER CONTROL SOMEONE RANG THE BUZZER IN   ( W2 ).  I ANSWERED " MASTER
  CONTROL " AND

DETAINEE GAY, ANTHONY ( WHO HAD BEEN IN W2 FROM BK1 SINCE BEFORE MY SHIFT STARTED )
SAID " I'M READY TO GO     BACK " I TOLD HIM IT WOULD BE A LITTLE BIT AS I WAS
BREAKING ANOTHER OFFICER. HE SAID " HOWS WORKING DOWN HERE ? " I SAID " I AM, BUT
LIKE I SAID I'M BREAKING ANOTHER OFFICER AND

I'LL BE THERE AS SOON AS I'M DONE. YOU'LL BE FINE FOR A                   FEW MORE MINUTES."      HE
CONTINUED TO ARGUE SO I   TURNED THE SPEAKER OFF. GAY THEN                CONTINUALLY HIT THE   BUTTON
AND WOULD'NT STOP. WHEN I GOT BACK TO BOOKING I WENT AND                  GOT BOTH GAY AND
LABAR, WHO HAD BEEN ASKING FOR A

PHONE CALL. I TOOK BOTH TO BOOKING AND GAY SAID HE ALSO WANTED A PHONE CALL. I TOLD
  HIM THAT I COULD NOT HAVE THEM   BOTH OUT ON THE PHONE WHILE I WAS BOOKING A NEW
ARRIVAL AND THAT AS SOON AS       FINISHED I WOULD GET HIM OUT FOR HIS CALL. GAY
ARGUED A BIT BUT THEN GOT IN HIS

CELL BUT BEGAN SCREAMING OUT THE CHUCK HOLE.  I APPROCHED HIS DOOR AND TOLD HIM TO                       "
  PLEASE BE QUITE WHILE       IS ON THE PHONE AND YOU'LL GET YOUR CALL WHEN HE'S
DONE. GAY SAID " FUCK THAT I WANT MY CALL NOW " AND CONTINUED YELLING. I TOLD HIM
IF HE DIDN'T QUITE DOWN DO

COULD HEAR I WAS GOING TO CLOSE THE CHUCK HOLE UNTIL         FINISHED HIS CALL. GAY
SAID " YOU AIN'T CLOSING SHIT " I THEN REACHED DOWN AND GRABED HIS HAND TO REMOVE IT
  FROM THE CHUCK HOLE SO I COULD CLOSE IT AND HE GRABBED BACK AT MY HAND. I USED MY
  KNEE TO GET HIM OFF AND THEN

TRIED APPLYING PRESURE TO THE BACK OF HIS HAND TO GET IT OF THE CHUCK HOLE BUT THAT
  WAS NOT GOING TO WORK SO I TOLD        I WOULD TAKE HIM BACK AND HE COULD CALL
LATER.        SAID " NO, HE'LL CALM DOWN IN A FEW MINUTES " SO I WENT BACK TO MY
DESK. GAY CONTINUED YELLING FOR

ABOUT    ( 5 )    FIVE   MINUTES THEN    STOPPED.




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 APPROX. ( 10 ) TEN MINUTES LATER SGT. LONG CAME INTO BOOKING AND GAY ASKED HIM FOR                      A
  PHONE CALL. SGT. LONG SAID HE WOULD STAY DOWN THERE WHILE I HAD THEM ALL THREE
OUT. GAY MADE HIS PHONE CALL AND WHEN HE COMPLETED    THEM HE TOLD ME, BEFORE GOING
BACK INTO HIS CELL, THAT

' YOU'RE LUCKY I         HAVE A SON BECAUSE THAT'S THE ONLY THING KEEPING ME FROM ASSAULTING
YOU RIGHT NOW. "           GAY THEN WENT BACK TO HIS CELL AND THERE WAS NO FURTHER PROBLEM.


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ON 1-2-23 I SGT JLONG WAS WORKING IN CHARGE POST AT LCJ FROM 1900 TO 0700 AT APPX 2235 I HAD
FINISHED MED PASS WITH

THE NURSE AND STEPPED INTO MASTER CONTROL TO USE THE BATHROOM AND LOOKED UP TO SCAN THE MONITORS AND


NOTICED C/O HANDEGAN IN FRONT OF BK1 WHERE GAY,ANTHONY WAS HOUSED AND SOMETHING WAS GOING ON
CONCERNING

THE CHUCK HOLE. NOT KNOWING WHAT WAS GOING ON I LEFT MASTER AND PROCEEDED TO BOOKING. I WAS ADVISED
WE WERE

SLOW TO MOVE HIM BACK TO BKG. I WENT DOWN TO TRY TALKING TO GAY, HE DID NOT WANT TO TALK,      JUST
WANTED A CALL,

WHICH I GRANTED.       GAY MADE CALL AND WAS THREATING HANDEGAN AFTER CALL ON WAY BACK TO BK1, I TRIED
TALKING TO HIM A

2ND TIME WITH NO RESPONCE.

EOR JLONG




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ON   THEABOVE DATE AND APPROX. TIME I, C/O HANDEGAN, WAS WORKING BOOKING AND HAD
       LABAR OUT USING THE PHONE. I TOLD        TO WRAP THE CALL UP I HAD A CHECK
IN ( 1 ) ONE MINUTE.  AS I STARTED MY CHECK IN BOOKING FRONT I WAS TOLD BY GAY,
ANTHONY THAT HE NEEDED TO GO TO

THE HOSPITAL. I SAID " THATS FINE, LET ME FINISH THIS CHECK                      AND PUT        UP THEN
WE'LL SEE WHATS GOING ON."   I FINISHED MY CHECK, SECURED                          BACK IN ( W2 ) AND
THEN WENT BACK TO ( BKG - 1 ) AND ASKED GAY " WHAT IS WRONG                      WITH YOU AND WHY DO YOU
  THINK YOU NEED TO GO TO THE HOSPITAL?

GAY THEN STEPPED TO THE FRONT OF THE CELL AT THE DOOR AND SHOWED ME A BLOODY TISSUE
  AND, WHAT APPEARED TO BE A HOLE IN HIS SCROTUM THAT WAS BLEEDING. I THEN NOTIFIED
SGT. LONG WHO PRECEDED TO COME DIRECTLY TO BOOKING AND LOOK FOR HIMSELF. AFTER SEEING
 WHAT GAY HAD DONE HE

CONTACTED     MEDICAL   AND      SUPT.   DRAPER.

 AFTER THE NURSE CONFERING WITH THE DR AND THE SUPT. IT WAS DETERMINED THAT GAY
NEEDED TO GO TO THE HOSPITAL BY AMBULANCE SO DEPT. DRAPER AND T/O ROSENBURGER WHERE
CALLED IN TO ESCORT GAY AND THE AMBULANCE TO THE HOSPITAL.  EMS LEFT THE SALLYPORT AT
  APPROX. 0114 IN

ROUTE TO ST. JAMES HOSPITAL WITH DEPT.             DRAPER    FOLLOWING   THE   AMBULANCE     AND   T/O
ROSENBURGER RIDING IN THE AMBULANCE.




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ON THE ABOVE DATE AND TIME, I SGT POTTS MADE MY WAY TO BOOKING DUE TO GAY, ANTHONY RETURNING FROM
HOSPITAL WITH THE POSSIBILITY OF HIM BEING UPSET OVER MOVING CELLS PER ADMIN. WHEN HE ARRIVED IN
BOOKING I TOLD HIM HE WAS NOT GOING BACK INTO SM2 BUT HE WAS GOING TO BE GOING INTO HOLDING 2
INSTEAD OF HOLDING 1 WHERE HE HAD BEEN HOUSED. AT THIS POINT HE BEGAN TO YELL AND SCREAM THAT SUPT
DRAPER LIED AND SHE HAD TOLD HIM HE WOULD BE COMING OFF WATCH. I STATED TO HIM THAT WAS HERE WHEN
SHE TALKED TO HIM AND SHE HAD NEVER SAID HE WAS COMING OFF WATCH, BUT SHE SAID HE WOULD BE COMING
OUT OF SM2 IF HE WAS SHOWING SIGNS OF IMPROVMENT IN HIS MENTAL WELLBEING. AGAIN ALL HE WOULD DO IS
YELL AND SCREAM AND SAY THAT SUPT LIED TO HIM. MYSELF AND CO BAKER GOT HIM TO CALM DOWN A BIT AND
THE RESTRAINTS WERE REMOVED AND
                              D AT THIS POINT HE STATED HE WASNT GOING INTO SM2. I TOLD HIM THAT IS
WHAT WERE ARE DOING NOW AND HE GOT LOUD AND AGGRESSIVELY BEGAN YELLING AT OFFICERS AND MAKING
AGGRESSIVE MOVEMENTS. AT THIS TIME I UNHOLSTERED MY TASER AND POINTED IT AT HIM AND TOLD HIM TO GO
INTO SM2 WHICH HE RELUCTANLY COMPLIED ALL WHILE SAYING "I'M GONNA FUCK YOU UP POTTS, YOU AINT
NOTHING BUT A BITCH" AFTER THE DOOR WAS SECURED WE WENT BEHIND BOOKING TO SEE ON THE CAMERA WHAT HE
WAS DOING AND HE HAD BEGUN DIGGING IN HIS PANTS WITH BOTH HANDS TO, WHICH I BELIEVE, WAS TO ATTEMPT
TO REOPEN HIS WOUND HE HAD JUST HAD REPAIRED. AT THIS TIME I MADE THE DECSIONS TO PLACE HIM IN THE
SAFETY CHAIR TO PREVENT HIM FROM HARMING HIMSELF. MYSELF, CO SHOOP, BAKER, AND T.O. RIVERA ENTERED
AND HAD HIM LAY ON THE GROUND. WHICH AFTER MULTPILE ORDERS HE DID. WE ENTERED AND PLACED HIM IN THE
SAFETY CHAIR WITHOUT FURTHER INCIDENT.

SEE SUPP REPORT FROM JLONG


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I SGT JLONG WAS WORKING IN CHARGE POST AT LCJ FROM 1900 TO 0700 ON 1-3-23
AT 1900 SM2 GAY,ANTHONY CURENTLY ON 15 MIN MED OBSERVATION AND IN RESTRAINT CHAIR SINCE APPX 1840,
 GAY WAS REMOVED FROM SAFETY CHAIR AT APPX 2030 AND SEEN SHORTLY THERE AFTER BY MEDICAL FOR VITALS
AND EVENING MEDS WITHOUT ANY FURTHER INCIDENTS AS OF COMPLETING THIS REPORT AT APPX 0245    EOR
JLONG




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**INFORMATIONAL ONLY**

I OFC SPEER WAS WORKING BOOKING POST BETWEEN THE HOURS OF 0100-0700 ON 1/13/2023 WHEN R/GAY, ANTHONY
 SAID HE WANTED TO BE PUT ON SUICIDE WATCH BECAUSE HE KEPT CLAIMING I OFC SPEER WAS "FAKE" THE
PREVIOUS NIGHT 1/11/23 WHEN I HAD BEEN WORKING THE BOOKING POST R/GAY ANTHONY HAD GIVEN I OFC SPEER
2 PHONE CARDS TO GIVE TO FEMALE R/             SO THE FOLLOWING MORNING 1/12/23 I WAS ON MY WAY TO
DELIVER THE CARDS WHEN OFC BURNS ADVISED I ASK SGT POTTS FOR APPROVAL. SGT POTTS HAD TOLD ME THAT
PASSING IS NOT ALLOWED SO THE PHONE CARDS WERE PUT BACK IN MASTER CONTROL. ON MY FOLLOWING SHIFT I
HAD ASKED SGT LONG THE SAME QUESTION WHEN R/GAY ANTHONY HAD BEGAN ASKING ABOUT THE CARDS. SGT LONG
HAD ADVISED THAT I ASK ADMIN. I TRIED TO EXPLAIN TO R/GAY THAT IS WHAT I NEEDED TO DO BEFORE I COULD
 GIVE FEMALE R/            THE PHONE CARDS. R/GAY ANTHONY STARTED SAYING HE FELT LIKE HE WAS BEING
ROBBED OR LIED TO. I BROUGHT HIS PHONE CARDS BACK TO HIM ALMOST IMEDDIATLY TO TRY AND DEVERT A
PROBLEM. R/GAY STARTED TO GET AGITATED AND CLAIMING I OFC WAS FAKE AND THAT HE FELT SUICIDAL
                                                                                    SUICIDAL. HE
STARTED ASKING FOR THE SGT ON DUTY SO OFC AMBROSE WENT AND SWAPPED OUT SGT LONG DOING MED PASS ATM

EOR SPEER




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*****INFORMATIONAL ONLY AT THIS TIME*****


ON 2/12/23 I, OFFICER PESAVENTO, WAS WORKING AS THE OFFICER IN CHARGE AT LIVINGSTON COUNTY JAIL. AT
APPROXIMATELY 0205 I WAS IN BOOKING DEALING WITH AN EMERGENCY SITUATION WITH A RESIDENT INSIDE AN
AMBULANCE IN THE SALLY PORT. WHILE I WAS STANDING IN THE BOOKING AREA RESIDENT GAY, ANTHONY, THAT IS
 CURRENTLY HOUSED IN HOLDING 1, BEGAN ARGUING WITH NURSE NICOLE. NURSE NICOLE WAS OBSERVING THE
SALLY PORT THROUGH THE VESTIBULE DOOR WINDOW AND ADVISED R/ GAY THAT SHE COULD NOT ANSWER ANY
QUESTIONS OR ADDRESS HIS ISSUES AS SHE HAD AN EMERGENCY CURRENTLY HAPPENING WITH A DIFFERENT
                                                                                    RACIST. NURSE
RESIDENT. R/ GAY BEGAN YELLING AND CURSING AT NURSE NICOLE WHILE CLAIMING SHE WAS A RACIST
NICOLE TURNED TO INFORM R/ GAY THAT SHE ONCE AGAIN COULD NOT ANSWER ANY QUESTIONS AT THIS TIME. R/
GAY CONTINUED TO YELL AND CURSE AT HER WHILE SHE LEFT THE BOOKING AREA. AT THIS TIME I WALKED UP TO
THE DOOR TO TRY AND CONVERSE WITH R/ GAY BUT HE BEGAN YELLING AT MYSELF. I ATTEMPTED TO GAIN R/
GAYS' ATTENTION BY STATING "MR. GAY", BUT HE BEGAN YELLING THAT I SHOULD NOT CALL HIS NAME AND TO
GET AWAY FROM HIS CELL. DURING THIS I OBSERVED R/ GAY QUICKLY GRAB SOMETHING FROM THE BENCH, SMASH
IT WITH HIS FOOT, AND SIT ON THE TOILET AND BEGAN ERRATIC MOVEMENTS WITH HIS HANDS BETWEEN HIS LEGS.
 DURING THIS TIME R/ GAY MADE COMMENTS TO THE NATURE OF HIM SELF MUTILATING HIMSELF. I THEN INFORMED
 THE BOOKING OFFICER, OFFICER SMITH, AND OFFICER MAU OF THE SITUATION. OFFICER MAU WALKED TO THE
CELL DOOR TO COMMUNICATE WITH R/ GAY WHILE I PROCEEDED TO MEDICAL TO INFORM THE NURSE OF THE
SITUATION. NURSE NICOLE AND I THEN PROCEEDED TO BOOKING. UPON ENTERING BOOKING I SAW OFFICER MAU
TALKING WITH R/ GAY AND AS I WOULD ONLY AGITATE R/ GAY I EXITED BOOKING AND RETURNED TO NORMAL
DUTIES. ///EOR/// (SEE SUPPLEMENTAL FROM OFFICER MAU)


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ON THE APPROXIMATE DATE AND TIME GIVEN, I OFC MAU J83, WAS IN BOOKING DURING A MEDICAL EMERGENCY.
AFTER SAID EVENT, I NOTICED R/ GAY, ANTHONY BECOME VERY AGITATED WITH NURSE NICOLE AND THEN OFFICER
IN CHARGE PESAVENTO J21 WHEN HE TRIED TO CALM HIM DOWN.

I OVERHEARD R/GAY SAY THAT HE WAS GOING TO START CUTTING UP AND BUGGING UP. AND THEN TOLD OFC
PESAVENTO "DON'T CALL MY NAME! GET AWAY FROM DOOR MAN! DON'T TALK TO ME!"

I HEARD A LOUD NOISE COME FROM HOLDING 1 WHICH IS WHERE R/ GAY WAS IN AND COULD TELL THAT OFC
PESAVENTO WAS TRYING TO KEEP HIM FROM BUGGING UP. I THEN PROCEEDED TO WALK OVER WHILE OFC PESAVENTO
WALKED AWAY TO NOTIFY THE NURSE ON WHAT WAS ABOUT TO HAPPEN.

I SAID "GAY HOW YOU DOING? YOU DOING OKAY? WHY DON'T YOU COME OVER HERE AND TALK TO ME?" I NOTICED
AT THIS POINT HE WAS HIDING BEHIND HIS PRIVACY WALL BY THE TOILET. HE WAS LOOKING DOWN AND EXTREMELY
 FLUSTERED AND AGITATED. KNOWING THAT HE WAS A SELF MUTILATOR, AND AFTER WHAT HE SAID TO OFC




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PESAVENTO, I ASKED R/ GAY IF HE WOULD COME OUT FROM BEHIND THERE AND TALK TO ME. HE SAID "NO MAN I'M
 GOOD RIGHT HERE." HE THEN STARTED TO EXPLAIN THAT THE NURSE WAS DISCRIMINATING AGAINST HIM AND
THAT SHE WAS VERY UNPROFESSIONAL AND A RACIST. HE THEN SAID THAT I WOULD KNOW BEST BEING A DARKER
SKINNED MAN AND THAT PEOPLE DISCRIMINATE AGAINST US ALL THE TIME CAUSE OF OUR COLOR.

I TOLD R/ GAY THAT I UNDERSTOOD WHERE HE WAS COMING AND I FEEL HIS FRUSTRATION BUT EXPLAINED TO HIM
THAT NONE OF THE OFFICERS NOR ANY OF THE STAFF ARE LIKE THAT. I EXPLAINED THAT NURSE NICOLE WAS
PROFESSIONAL AND THAT SHE WAS DOING THE BEST SHE CAN TO TAKE CARE OF HIM BUT THAT SHE WAS ALSO VERY
BUSY DEALING WITH THE MEDICAL EMERGENCY THAT WAS HAPPENING IN BOOKING. I CONTINUED TO EXPLAIN THAT
HE WASN'T THE ONLY ONE IN THE JAIL AND THAT THERE WAS A LOT GOING ON THAT TOOK PRECEDENT OVER HIS
CURRENT COMPLAINT WHICH WAS ASKING THE NURSE HOW MANY STITCHES HE HAS FROM HIS SURGERY.

I ASKED R/ GAY TO BE PATIENT WITH THE NURSE AND ALL STAFF AND THAT WE WILL ACCOMODATE HIM AS SOON AS
 EVERYTHING SETTLES DOWN, R/ GAY SHOOK HIS HEAD AND AGREED AND SAID "ALRIGHT MAU! YOU KNOW WE GOOD!
YOU PROFESSIONAL UNLIKE THAT RACIST BITCH NURSE"

I TOLD R/GAY THAT HE CAN'T CALL STAFF ANY TYPE OF NAMES LIKE THAT AND EXPECT RESPECT. AND LATER
EXPLAINED THAT NURSE NICOLE IS A GOOD NURSE AND THAT SHE TAKES THE TIME TO TALK TO HIM WHEN SHE
ISN'T BUSY AND THAT JUST BECAUSE SHES DEALING WITH A MEDICAL SITUATION INSTEAD OF TALKING TO HIM
DOESN'T MAKE HER UNPROFESSIONAL OR A RACIST. BUT THAT SHE'S JUST BUSY AND NEEDS TO DO HER JOB THAT
SHES INTENDED TO DO WHEN SHE'S HERE WHICH IS CARE FOR ALL THE RESIDENT'S WELL BEING REGARDLESS OF
ANY SHAPE, SIZE, OR COLOR THAT THEY MAY BE.

NURSE NICOLE CAME UP TO HIM AND STARTED TO TALK TO HIM ABOUT THE PAPERWORK THAT CAME BACK WITH HIM
FROM THE HOSPITAL. AS SHE WAS WALKING, HE CAME OUT FROM BEHIND THE PRIVACY WALL TO TALK SOME MORE
AND I NOTICED THERE WAS NO CUTS OR HARM DONE TO HIMSELF AND SHE EXPLAINED THAT THERE WAS NO
INFORMATION ON HOW MANY STITCHES HE GOT AFTER HIS SURGERY. THEY CAME TO AN AGREEMENT OF JUST MOVING
ON FROM THIS AND ENDED THE CONVERSATION.

NO FURTHER INCIDENTS OCCURRED

EOR

AMAU J83




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ON FEB 13TH, 2023 @0915HRS, DETAINEE GAY WAS IN HOLDING 1 SHOWING ME THE PLASTIC PIECE THAT HE
SHOVED IN HIS ARM. MEDICAL WAS CONTACTED AND NURSE JAMES CAME DOWN TO CHECK ON DETAINEE GAY. AT
0917 HRS, NURSE JAMES LEFT BOOKING.
AT 0920HRS, DETAINEE GAY SHOWED ME ANOTHER PIECE OF PLASTIC THAT HE WAS IN THE MIDDLE OF SHOVING
INTO HIS RIGHT ARM, WHICH MADE HIS ARM BLEED. AT THIS POINT, FOR DETAINEE GAYS SAFTEY, HE WAS
REMOVED FROM HOLDING 1 AND PLACED IN THE SAFETY CHAIR BY SGT POTTS, OFFICER GOMEZ, OFFICER BRANTLEY
 AND MYSELF. AT 0923HRS, MEDICAL ENTERED BOOKING AND CHECKED ON DETAINEEE GAY. MEDICAL EXITED
BOOKING AND DETAINEE GAY WAS PLACED IN HOLDING 4 ON MEDICAL OBSERVATION.


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ON 2/13/23 AT APPROX 0920 I WAS INFORMED BY OFFICER BRAUMAN WHO WAS POSTED IN BOOKING ON OVERTIME
FROM 0700-1300 THAT
                  T R/ GAY, ANTHONY HAD USED A PIECE OF PLASTIC AND HAD SHOVED IT THROUGH HIS ARM
CAUSING HIMSELF TO BLEED. THIS WAS IN RESPONSE TO HIM ASKING FOR A PHONE CALL AND PER MY ORDERS HE
WAS NOT TO BE LET OUT FOR A PHONE CALL UNTIL WE HAD ANOTHER OFFICER FREE TO SIT DOWN THERE DUE TO AN
 UNRELEATED ISSUE THAT HAD OCCURED ON THE PREVIOUS SHIFT. WHEN WE DID NOT GIVE HIM HIS PHONE CALL AT
 THIS EXACT TIME HE BEGAN TO SELF HARM. AT THIS POINT I MADE THE DECISION TO PLACE HIM IN THE SAFETY
 CHAIR IN ORDER TO TRY AND PREVENT FURTHER HARM. MYSELF ALONG WITH OFFICER BRAUMAN, OFFICER CLARK,
PO BRANTLEY PLACED HIM IN THE SAFETY CHAIR WITHOUT INCIDENT. HE WAS PLACED IN HOLDING 4 ON
OBSERVATION. MEDICAL ASSESSED R/ GAY AND PER DOCTOR HE WAS TAKEN TO OSF ST JAMES FOR MEDICAL
TREATMENT WHERE HE REFUSE TO ALLOW THE DOCTOR TO PROVIDE ANY TREATMENT.


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ON 2/13/2023 I R/O BRANTLEY WAS ASSIGNED TO MASTER CONTROL ALONG WITH C/O LONG FOR THE HOURS OF
0700-1900. AT APPROXIMATLEY 0920 RADIO TRAFFIC WAS OBSERVED FROM C/O BRAUMAN STATING THAT OFFICER
ASSISTANCE WAS NEEDED IN BOOKING IN REGARDS TO R/GAY INSERTING SHARDS OF BROKEN PLASTIC IN HIS ARM.
R/O ALONG WITH C/O GOMEZ AND SRGT POTTS RESPONDED. APPON ARRIVAL IT WAS OBSERVED THAT IN FACT R/GAY
HAD INSERTED PLASTIC IN HIS RIGHT ARM IN WAS DETERMINED THAT R/GAY WOULD NEED TO BE PLACED INTO THE
SAFTEY CHAIR FOR HIS SAFTEY AND THE SAFTEY OF THE FACILITY. THIS WAS DONE AND R/GAY WAS PLACED INTO
INTO OBSERVATION. NO FURTHER INCIDENTS AT THIS TIME.




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THIS STATEMENT IS TRUE AND ACCURATE TO THE BEST OF MY KNOWLEDGE

C/O BRANTLEY




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ON THE ABOVE DATE AND APPROXIMATE TIME, I OFFICER MARTIN HAD RETURNED FROM A TRANSPORT AND WAS IN
BOOKING AT THE LIVINGSTON COUNTY JAIL. i WAS SPEAKING TO THE MENTAL HEALTH PERSON. SHE WAS
EXPLAINING TO ME HOW DETAINEE GAY,ANTHONY WHO WAS IN HOLDING ONE,HAD BEEN SCREAMING AT HER AND
CALLING HER FOUL NAMES. WHILE SPEAKING TO HER MR.GAY WAS YELLING OUT HIS FOOD SLOT ON HIS DOOR AT
ANOTHER DETAINEE WHO IS IN BOOKING IN SPECIAL MANGEMENT TWO FOR SUICIDE WATCH AND HAS BEEN
DIAGNOSED WITH MENTAL ILLNESS. HE WAS SAYING THINGS TO GET ADVERSE REACTIONS OUT OF HIM. GAY WAS
SAYING "FUCK THEM CO,S."DONT WORK FOR THEM." WHILE I WAS SPEAKING TO THE MENTAL HEALTH PERSON MR.GAY
 ASSUMED I WAS POINTING AT HIM AND TOLD ME "DONT POINT AT ME MARTIN." HE REPEATED THIS YELING OUT
HIS FOOD HOLE DISRUPTING THE ENTIRE BOOKING AREA.I THAN WALKED OVER TO MR.GAY CELL AND ATTEPMTED TO
TRY AND CLOSE HIS FOOD SLOT.HE PLACED HIS ARMS IN THE FOOD SLOT TO KEEP ME FROM CLOSING IT.I GAVE MR
 GAY SEVERAL DIRECT ORDERS TO REMOVE HIS ARMS BUT HE REFUSED. I TRIED TO GET HIS ARMS OUT OF THE
HOLE WITH NO SUCCESS.I REQUESTED A TASER FROM ANOTHER OFFICER AND PLACED IT NEAR MR.GAYS ARM AND
TOLD HIM TO REMOVE HIS ARMS OR HE WOULD BE TASED. I REPEATED AGIAN TO MOVE HIS ARMS.GAY FINALLY
MOVED HIS ARMS BACK IN TH FOOD SLOT AND I WAS ABLE TO CLOSE THE HATCH TO KEEP HIM FROM RILEING UP
THE OTHER DETAINEES.MR.GAY JUMPED UP FROM THE FLOOR AND RAN TO BEHIND THE HALF WALL IN BACK OF THE
CELL SAYING"IM GOING TO THE HOSPITAL NOW." I SEEN MR.GAY THROW A DEODORANT TUBE ON THE FLOOR AND
SMASH IT.I REQUESTED THE DOOR TO BE OPENED.I ENTERED THE CELL AND HE HAD PUT A PIECE OF PLASTIC INTO
 HIS ARM.I HAD HIM COME OUT OF THE CELL.HE COMPLIED.AT THIS TIME SEVERAL OTHER OFFICERS HAD COME
INTO BOOKING. MR.GAY WAS CUFFED AND WAS TAKEN TO MEDICAL.EOR




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ON 02/15/23 THIS OFFICER PARHAM J114 WAS ASSIGNED TO BOOKING ON THE 7PM-7AM SHIFT AT THE LIVINGSTON
COUNTY JAIL. D/GAY WAS OUT USING THE PHONE AND THERE WERE NO ISSUES UNTIL HE THOUGHT THAT OFFICER
MAU WAS GONE. HE BEGAN TO SPEAK TO ME AGGRESSIVELY AND TOLD ME THAT I "DRUG HIS NAME THROUGH THE
MUD." THIS IS STEMMING FROM ME WRITING A REPORT ON HIM MONDAY MORNING. ANOTHER PERSON AT THIS JAIL
TOLD HIM ABOUT THE REPORT AND HE BECAME VERY AGITATED AND STARTED CALLING ME NAMES AND SPEAKING
AGGRESSIVELY. AT 8:26.49 D/GAY WALKS OVER TOWARDS ME AS I WAS GIVING ANOTHER DETAINEE WATER AND
AGGRESSIVELY
LOOKS OVER TO SEE IF OFFICER MAU IS AT THE DESK. HE CONTINUES TO WALK TOWARDS ME AND I THOUGHT HE
WAS GOING TO ATTACK ME. I CALLED FOR OFFICER MAU WHO WAS IN BOOKING HELPING ME. HE CONTINUED TO
ARGUE WITH ME ABOUT "DRAGGING HIS NAME IN THE MUD" AND I TOLD HIM HE NEEDED TO GET AWAY FROM ME. HE
CONTINUED TO YELL AND USE PROFANITIES AT ME. AT 8:27 OFFICER MAU ARRIVES TO ASSIST

EOR PARHAM J114


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ON THE APPROXIMATE DATE AND TIME GIVEN ABOVE, I OFC MAU J83, WAS WORKING AS MOVEMENT OFFICER AND
HELPING BOOKING OFFICER PARHAM J114 WITH NEW BOOK INS.

AS I WAS FIXING A JAM IN THE PRINTER, I HEARD OFC PARHAM CALL OUT "HEY MAU!" I LOOKED UP AND NOTICED
 R/ GAY, ANTHONY WAS RIGHT NEXT TO HER ARGUING WITH HER. I IMMEDIATELY WALKED OVER AND ASKED R/ GAY
WHAT THE ISSUE WAS. HE STATED "MAN SHES DRAGGING MY NAME THROUGH THE MUD" I ASKED HIM WHAT HE MEANT
AND HE STATED "MAN MY NAME CAME OUT OF HER MOUTH IN A REPORT AND I WANT TO KNOW WHY SHE WAS SAYING
MY NAME" I TOLD R/ GAY THAT I WASN'T SURE WHO "DRUG HIS NAME THROUGH THE MUD" BUT THAT I ASSURED
HIM IT WASN'T OFC PARHAM AND THERE WAS NO REASON TO BE YELLING AT HER AND CALLING HER NAMES.
HE PROCEEDED TO CALL ME A "BITCH" AND "CAPTAIN SAVE-A-HOE" I TOLD HIM R/ GAY THAT IF HE'S GOING TO
 TALK TO ME LIKE THIS AND DISRESPECT ME AND OFC PARHAM THEN HE NEEDS TO LOCKDOWN OR BE QUIET AND
MAKE HIS PHONE CALLS.

HE CONTINUED TO CALL ME AND OFC PARHAM NAMES AND I SAID THAT IF HE'S GOING TO CONTINUE THIS HE NEEDS
 TO LOCKDOWN. OFC PARHAM WENT TO NOTIFY OUR OFFICER IN CHARGE, SGT MELVIN J13.

AS OFC PARHAM WAS GONE, R/ GAY STATED "MAU YOU FUCKING HER! THAT'S WHY YOU BEING A BITCH ASS AND A
CAPTAIN SAVE-A-HOE" I STATED TO R/GAY THAT IF HE WANTS ME TO RESPECT HIM THEN HE NEEDS TO RESPECT
ME AND THAT HE NEEDS TO LOCKDOWN AND THAT HE WILL LOCKDOWN ONE WAY OR ANOTHER. I TOLD R/ GAY TO MAKE
 HIS PHONE CALLS AND BE QUIET OR GO BACK IN HIS CELL. HE PROCEEDED TO MAKE MORE PHONE CALLS.

NO FURTHER INCIDENTS OCCURRED DURING THIS EVENT

EOR




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AMAU J83




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02/19/2023

ON THE ABOVE DATE I OFC SPEER WAS ASSIGNED TO THE BOOKING POST DURING THE HOURS OF 1900-0700 AT LIV
CO JAIL IN PONTIAC IL.

AT 1918 R/GAY ANTHONY HAD REQUESTED HE WANTED TO SEE MEDICAL. I OFC SPEER IMMEDIATLY CALLED THE ON
DUTY NURSE(CHAZ) AND TOLD THEM THAT IT WASNT AN EMERGENCY BUT R/GAY REQUESTED MEDICAL. MEDICAL
ENTERED BOOKING APRX 0725 TO SPEAK WITH R/GAY ANTHONY BUT
                                                        T R/GAY REFUSED BECAUSE THE NURSE WAS NOT
"NICOLE"


AT 0829 ANOTHER RESIDENT NEEDED MEDICAL ASSISTANCE IN BOOKING SO MEDICAL WAS CALLED. R/GAY HAD
REQUESTED TO GO INTO W2 IN WHICH I OFC SPEER SAID OKAY AND STARTED TO ESCORT R/GAY OUT OF BOOKING
AND INTO THE WORK RELEASE HALLWAY. ON THE WAY OUT OF BOOKING THE NURSE HAD JUST ENTERED TO EVALUATE
BK2. R/GAY INSTANTLY BECAME AGITATED AND BEGAN CALLING HER "RACIST" AND "OH SO SHE CAN SEE THE WHITE
 BOY BUT NOT ME, ALRIGHT I GOT YOU, IM GUNNA FUCK MY SHIT UP" R/GAY WENT BACK AND SECURED HIMSELF
INTO BK1. I OFC SPEER WAS ASSISTING MEDICAL WITH BK2 WHEN R/GAY ANTHONY STUCK HIS ARM OUT OF THE
CHUCKHOLD AND BEGAN CLAWING HIMSELF, MAKING HIMSELF BLEED. R/GAY BEGAN "ACTING OUT" AND STARTED SELF
 MUTILATING HIMSELF ON HIS ARM AND LEG. I OFC SPEER INSTANTLY PROMPTED SGT LONG TO 10-25 BOOKING.

SGT LONG ENTER BOOKING. AFTER MULTIPLE ATTEMPTS TO GET R/GAY TO STOP HIS ACTIONS, SGT LONG RETRIEVES
 RESTRAINT CHAIR.

 OFC HANDEGAN ENTERS BOOKING. I OFC SPEER INSTRUCT MASTER CONTROL TO "POP" BK1 DOOR. R/GAY REFUSES
TO STEP OUT TO BE SEEN BY MEDICAL. HE SAYS " SHE CAN SEE THE WHITE BOY IN THE HIS CELL, WHY DO I GOT
 TO STEP OUT
         OUT. MEDICAL REFUSES TO STEP INSIDE AND WILL ONLY EVAULATE IF R/GAY STEPPED OUTSIDE HIS
CELL

R/GAY COMPLIES AND STEPS OUT BUT REFUSES RESTRAINT CHAIR. SGT LONG EXPRESSED R/GAY HAD NO CHOICE
BECAUSE HE WAS ACTIVATLY HURTING HIMSELF AND IT WAS FOR HIS OWN SAFETY. R/GAY SAT ON THE BENCH NEXT
TO HOLDING 1 AND BECAME VERBALLY ARGUMENTATIVE ABOUT THE RESTRAINT CHAIR.

AFTER DISCUSSION, R/GAY HAD TO BEGAN "CALMING DOWN" AND ACCEPTED MEDICALS HELP IN WRAPPING HIS
WOUNDS. R/GAY ANTHONY WAS CLEANED UP, BANDAGES APPLIED AND SECURED BACK INTO HOLDING 1

NO LEVEL OF FORCE NEEDED
NO RESTRAINT CHAIR NEEDED


EOR




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SPEER J132


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    ON THE ABOVE DATE AND APPROX. TIME I C/O HANDEGAN ( 49 )    RESPONDED WITH SGT.
LONG ( 26 ) TO BOOKING WHERE WE WERE CALLED BY C/O SPEER ( 132 ) FOR A DISTURBANCE.
  I ARRIVED A FEW MINUTES AFTER SGT. LONG AND WHEN I APPROCHED I SAW THAT DETAINEE
GAY. ANTHONY SITTING ON THE BENCH

OUTSIDE HIS CELL WITH A BLANKET ON HIS SHOULDERS, HIS UNDERWEAR AND BLEEDING FROM HIS
 ARM AND LEG.   DURING THE CONVERSATION WITH THE NUJRSE AND SGT. LONG HE STATED HE HAD
  HAD A BAD CALL FROM HIS FAMILY AND CUTTING HIMSELF MADE HIM FELL BETTER. HE SAID
HE WAS GOING TO CONT -

INUE CUTTING ALL NIGHT LONG AND THERE WAS NOTHING WE COULD DUE ABOUT IT. THE
RESTRAINT CHAIR WAS ALREADY OUT AND INFRONT OF GAY. SGT. LONG TOLD GAY HE WAS
LEQAVING US NO ALTERNATIVE BUT TO PLACE HIM IN THE CHAIR TO PROTECT HIM FROM HIMSELF.
   GAY STATED " YOU ARE NOT A MENTAL

HEALTH PROFESSIONAL AND CAN NOT LEGALLY USE A RESTRAINT CHAIR.              HE STATED THAT HE WOULD
  SUE LONG, ME AND THE COUNTY FOR ILLEGAL USE OF RESTRAINTS.
                                                   RESTRAINTS               LONG EXPLAINED TO HIM
THAT IT WAS FOR HIS SAFTY BUT HE AGAIN SAID THE SAME THING.                 SGT. LONG ASKED THEN IF
  IT WAS OK FOR THE NURSE

TO LOOK HIM OVER AND TAKE CARE OF HIM.      GAY STATED HIS AND THE NURSE TOOK CARE OF
HIS SUPERFICIAL WOUNDS WHILE I KEPT A TAZER ON HIM FROM BEHIND AND SGT. LONG TALKED
TO HIM FROM THE FRONT.    THE NURSE FINISHED CARING FOR GAY AND HE STEPPED BACK INTO
HIS CELL WITHOUT FURTHER

PROBLEMS.


             C/O   HANDEGAN   49




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ON 2/13/23 THIS OFFICER PARHAM J114 WAS ASSIGNED TO BOOKING AT THE LIVINGSTON COUTY JAIL. AT
APPROXIMATELY 0210 D/GAY SAT DOWN IN FRONT OF THIS OFFICER AT THE BOOKING DESK. HE BEGAN TO TELL ME
HE DID NOT "RESPECT ME NO MORE" DUE TO THE WAY I HANDLED A SITUATION WITH ANOTHER DETAINEE IN
                               D/GAY
                                 GAY TOLD THIS OFFICER PARHAM TO GO INTO HIS CELL AND THIS OFFICER
BOOKING. AT APPROXIMATELY 0214 D/G
TOLD HIM NO. HE ASKED WHAT THE DOOR NEXT TO US WAS TO WHICH I REPLIED THE BATHROOM AND HE ASKED THIS
 OFFICER TO GO GET HIM SOME SOAP OUT OF IT, TO WHICH I ALSO TOLD HIM NO AND THAT I COULD GRAB HIM
SOME FROM THE BACK OF BOOKING AFTER HE LOCKED DOWN. D/GAY KEPT TRYING TO GET ME TO GO TO THE BACK OF
 BOOKING. I TRIED TO REMAIN CALM AS I KNOW THIS DETAINEE HAS A HISTORY OF ASSAULTING STAFF. I BEGAN
TO FEEL VERY UNCOMFORTABLE AND THAT SOMETHING WAS NOT RIGHT. I CALLED MASTER CONTROL AND TOLD
OFFICER MAU THAT I WOULD BE THERE SOON AS NOT TO ALARM D/GAY AS I HAVE BEEN TOLD TO BASICALLY GIVE
HIM WHATEVER HE WANTS SO THAT HE DOES NOT ACT OUT AND START SELF MUTILATING. D/GAY SAID "I DON'T
RESPECT YOU NO MORE, YOU'RE GOING TO GIVE ME THAT PUSSY!" I THEN TOLD D/GAY THAT HE NEEDED TO GO IN
HIS CELL. I REPORTED THIS INCIDENT TO MY OIC PESAVENTO. I ASKED PESAVENTO IF I COULD SWITCH POSTS
WITH OFFICER SMITH AND TAKE OVER MALE POD. OIC PESAVENTO ULTIMATELY MADE THE DECISION FOR ME TO BE
ASSIGNED TO MASTER CONTROL FOR THE REST OF THE MORNING

-PARHAM J114




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I, OFC J SMITH, WAS WORKING THE POST BOOKING FROM 0100-0700 AT THE LIVINGSTON COUNTY JAIL ON
03/08/23. AT 0603 I LET R/GAY, ANTHONY OUT OF HIS CELL AS IT WAS TIME FOR HIM TO GO TO REC FOR
FOURTY-FIVE MINUTES. AS HE CAME OUT HE TOLD ME "HE NEEDED TO SEE THE NURSE." I ASKED HIM FOR WHAT
AND HE JUST REPEATED HE NEEDED TO SEE THE NURSE. I LOOKED OVER AT HIM AND NOTICED HE HAD CUT A GASH
INTO RIGHT FOREARM BELOW THE CREASE OF HIS ELBOW. I THEN CALLED OUT FOR MEDICAL OVER MY RADIO AND
TOLD EVERYONE THAT "GAY HAS CUT HIS ARM UP." I THEN PROCEED TO GO TO THE DESK AND MESSAGED SERGEANT
MELVIN WHAT I HAD SEEN. R/GAY THEN WALKED OVER TO BK SM 2 AND SHOWED R/LINDSEY, DARION WHAT HE HAD
DONE. HE THEN SAT ON THE BENCH AND SAID REPEATEDLY "I NEED TO SEE THE NURSE." I TOLD HIM THAT
MEDICAL HAS BEEN ADVISED AND SHOULD BE HERE SHORTLY AS SHE WAS IN THE MIDDLE OF MED PASS IN MALE
POD. I ADVISED HIM THAT HE SHOULD COVER UP THE CUT WITH THE BANDAGES THAT THE NURSE JUST PUT ON TO
HIS ARM AND TO PUT SLIGHT PRESSURE ON TO IT. HE IGNORED WHAT I SAID THEN SAID AGAIN HE NEEDED TO SEE
 THE NURSE. I TOLD HIM THAT HE NEEDED TO LOCK UP INTO HIS CELL AND WAIT ON THE NURSE. HE THEN
PROCEEDED TO SCREAM AT ME AND YELLED THAT HE WASN'T GOING INSIDE THAT CELL. I KEPT REPEATING TO HIM
THAT HE NEEDED TO INSIDE THE CELL SINCE HE WAS BLEEDING AND TRYING TO WALK AROUND BOOKING. JUST A
COUPLE MINUTES AFTER US ARGUING BACK AND FORTH ABOUT HIM LOCKING DOWN OFC MAU CAME INTO BOOKING AND
WAS ABLE TO TALK R/GAY INTO HIS CELL BY TELLING HIM HE WAS GOING TO TRY TO GET THE NURSE DOWN HERE
AS SOON AS POSSIBLE
            POSSIBLE. ONCE HE HAD SECURED HIS DOOR OFC MAU WENT BACK TO HIS POST, MALE POD, AND
TALKED TO THE NURSE. R/GAY THEN WENT TO THE BACK OF CELL AND SAT ON HIS TOILET AND PROCEED TO MAKE
THE CUT IN HIS ARM WORSE. I WAS TOLD BY SGT MELVIN TO KEEP A CLOSE EYE ON HIM AND WHICH I DID. I
KEPT SGT MELVIN UPDATED ALONG WITH OFC MAU UPDATED ON WHAT HE WAS DOING. THE NURSE WAS KEPT UPDATED
ON ALL THE CUTS AND MUTILATIONS HE WAS DOING TO HIMSELF. WHILE I WAS IN THE MIDDLE OF GIVING
R/        SOME WATER R/GAY YELLED OUT FROM HIS CELL "SMITH LOOK WHAT YOU MAKE ME DO." I SECURED THE
CHUCK HOLE OF SM2 AND WALKED OVER TO BK 1 AND SEEN R/GAY CUTTING THE INSIDE OF HIS RIGHT THIGH
                                                                                           THIGH. I
THEN RADIOED TO EVERYONE THAT HE WAS CUTTING HIS LEG. A FEW MINUTES LATER HE STUCK HIS ARM OUT OF
THE CHUCK HOLE AS ME AND HIM WERE ARGUING ABOUT ME CALLING THE MEDICAL EMERGENCY AND I SEEN A PINK
STRINGY ITEM STRETCHING FROM THE CUT IN HIS ARM TO HIS THUMB SAYING THIS IS ON CAMERA AND IM
REFUSING HIM MEDICAL ASSISTENCE. WE CONTINUED TO ARGUE BACK AND FORTH WITH HIM CALLING ME A "FAT
FUCKING BITCH, I EAT AND SUCK DICKS, AND THAT HE WILL BE GETTING ME FIRED AND THAT HE WILL BE
TELLING SUPT. THAT I SHOULD NO LONGER BE IN BOOKING
                                             BOOKING." AT 0707 FTO BAKER AND PO OFC BRANTLEY CAME
INTO BOOKING TO RELIEVE ME FROM THE POST. R/GAY ASKED OFC BAKER TO CALL THE NURSE. WHEN OFC BAKER
CALLED THE NURSE HE HAD ASKED IF THE DAY SHIFT NURSE HAD ALREADY BEEN TOLD WHAT WAS GOING ON. THE
DAYSHIFT NURSE ALREADY KNEW AND THAT THE NIGHT SHIFT NURSE WAS ON HER WAY TO BANDAGE HIM. HE ALLOWED
 MEDICAL TO TREAT HIM WITH NO FURTHER INCIDENT.
////EOR////




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ON 03/18/2023 I OFC SPEER WAS ASSIGNED TO THE BOOKING POST BETWEEN THE HOURS OF 1900-0700 AT LIV CO
JAIL.

STEMMING FROM THE PREVIOUS NIGHT (03/17/2023) R/GAY ANTHONY HAD ASKED I OFC SPEER FOR THE "BRACKET"
 OF TOMORROWS BASKETBALL GAMES, IN WHICH I TOLD HIM HE WOULD HAVE TO WAIT AS I WAS TRYING TO BOOK
SOMEBODY IN. R/GAY ANTHONY INSTANTLY GOT MAD BECAUSE HE DIDNT GET WHAT HE WANTED AND WAS TOLD HE HAD
                                                                                "FAKE".
 TO WAIT. HE INSTANTLY STARTED TO CALL I OFC SPEER A "RACIST BITCH" AND THAT IM "FAKE"

R/GAY ANTHONY HAD THEN SAID HE WANTED TO COME OUT OF HIS CELL, IN WHICH I REPLIED NO WHICH CAUSED
                        HOSTILE. I HAD EXPLAINED TO RESIDENT THAT PER THE "RULES" THAT HIM AND ADMIN
R/GAY, A TO BECOME MORE HOSTILE
 HAD AGREED UPON, HE WOULD STAY IN HIS CELL BETWEEN THE HOURS 0000-0600. IT WAS APX 0045. R/GAY
CONTINUED TO CALL ME A " LIAR" AND SAY THAT HE NEVER SAID THAT AND THAT THOSE RULES NO LONGER
                                                         . R/GAY A CONTINUED TO YELL OUT OF HIS CELL
MATTER. I CONTINUED TO TELL HIM I WAS NOT LETTING HIM OUT.
 AT WHICH ONE POINT HE SAID " JUST WAIT TILL I GET MY HANDS ON YOU" I RADIOED SGT LONG IN WHICH HE
ENTERED BOOKING AND ESCORTED R/GAY ANTHONY TO W2 HIMSELF. I OFC SPEER SWAPPED POST WITH OFC HADAGEN
AS IT WAS TIME TO SWITCH POSTS.

MOVING FOWARD TO 3/18/23. I TOOK OVER POST AND AS SOON OFC SHOOP, AND PO MCBRIDE LEFT THE BOOKING
POST, R/GAY ANTHONY HAD STARTED CALLING ME A "BITCH" AND THAT I NEEDED TO "LEAVE" HE THEN STARTED
TELLING TO LET HIM OUT OF HIS CELL.. I TOLD HIM NO I WASNT LETTING HIM OUT. I ALSO EXPLAINED TO HIM
THAT ANOTHER OFFICER NEEDED TO PRESENT IN ORDER FOR HIM TO BE OUT. SGT LONG ENTERED BOOKING SO R/GAY
 ANTHONY WAS ALLOWED TO COME OUT AND CHANGE THE CHANEL. HE CALMED DOWN

IT SHOULD BE NOTED THAT THIS OFC HAD NO PROBLEM WITH LETTING OUT R/GAY ANTHONY IN THE PAST BUT DUE
TO HIS OUTBURTS, AND THREATS, THIS OFFICER BELIEVES THAT 2 OFFICERS SHOULD BE PRESENT WHEN R/GAY,
ANTHONY IS LET OUT.


EOR
SPEER




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ON THE ABOVE DATE AND APPROX. TIME I, C/O HANDEGAN, WAS ACTING                                   O.I.C. AND WAS
CONDUCTING MY 1ST ROUND IN MASTER CONTROL. AT APPROX. 1917 C/O                                   SPEER ( WORKING       BOOKNG )
  ASKED ME ON THE

RADIO TO COME TO BOOKING. I SAID " I'M                       IN THE MIDDLE OF MY CHECK,                   I'LL BE A     FEW
MINUTES ".  I WENT TO BOOKING APPROX. 10                     MINS LATER AND WAS TOLD WE                   WOULD NEED    A
NURSE BECAUSE ( GAY, ANTHONY )

WAS CUTING HIMSELF. THE NURSE WAS CALLED                       TO BOOKING WHERE GAY HAD DUG AT THE SCAR ON
  HIS ARM AND HIS GROIN SACK. WHILE THE                        NURSE WAS CLEANING AND DRESSING I ASKED GAY
WHY HE HAD

DONE THIS AND HE SAID " I WANTED TO CHANGE THE TV STATION AND SPEER                                        SAID IT WILL
BE A MINUTE ".    I SAID " SHE STOOD RIGHT IN FRONT OF YOU AND CALLED                                      ME TO COME
DOWN, YOU COULDN'T WAIT

( 5 ) FIVE MINUTS ? " GAY SAID                 " I     CAN'T    SUPPPORT       THAT   HANDEGAN, WHAT IF YOU'RE BUSY
 AND IT TAKES AN HOUR. WHEN I                  WANT    IT I     WANT IT        NOW,   NOT LATER ! " I TOLD HIM THIS
  IS A JAIL AND OFFRICER

SAFETY COMES FIRST.  GAY THEN SAID " YOU'RE SUPPOSED TO MOVE HER ( C/O SPEER ) IF
SHE'S SCARED TO WORK DOWN HERE ". I TOLD HIM SHE IS NOT SCARED TO WORK BOOKING BUT
AS AN OFFICER SAFETY

ISSUE    SHE    WANTED    ANOTHER    OFFICER    HERE    WHEN    SHE     LET    YOU    OUT,    PERIOD ".

        NURSE MONICA CLEANED         AND   DRESSED     HIS     WOUNDS    AND    THERE    WERE    NO   FURTHER   PROBLEMS
FROM     DETAINEE GAY.


                                   C/O   HANDEGAN 49


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I OFC SPEER WAS WORKING THE BOOKING POST FROM THE HOURS 1900-0700 ON 03/27/23. APRX 715 R/GAY,
ANTHONY HAD REQUESTED TO TURN THE TV ON IN WHICH I TOLD HIM IT WOULD BE A MINUTE AND HE SAID " YOU
REALLY AINT GUNNA LET ME COME OUT OF MY CELL" I TOLD HIM ANOTHER OFFICER HAD TO BE PRESENT SO NO. I
CALLED FOR OIC HANDAGEN TO COME DOWN AND HE EXPLAINED THAT HE WAS IN THE MIDDLE OF A CHECK AND THAT
                                        MESSAGE TO R/GAY IN WHICH HE REPLYED "AH
IT WOULD BE ABOUT 5 MINS. I RELAYED THE M                                    "   MAN YOU REALLY WANT




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 TO START THIS" "I DONT PLAY NO GAMES, YOU REALLY WANT ME TO BUG UP" I AGAIN TOLD HIM THAT OFC
HANDEGAN WAS INFORMED. THEN A MOMENT LATER R/GAY STUCK HIS ARM OUT OF THE CHUCKHOLD AND BEGAN
CUTTING UP HIS WOUND HES HAD PREVIOUS. I CALLED MEDICAL. SINCE R/GAY DIDNT GET A REACTION OUT OF
THIS OFC HE BEGAN CUTTING HIS GROIN TO "REALLY FUCK SHIT UP" AND "IM GOING TO MAKE YOU WORK TONIGHT"

MEDICAL CAME DOWN TO ADDRESS THE SITUATION AND WAS ABLE TO BANDAGE R/GAY UP WITH NO TRIP TO THE
HOSPITAL.

IT SHOULD BE KNOW THAT EVERYTIME R/GAY "BUGS UP" HE GETS EVERYBODY ELSE IN THE BOOKING AREA ALL
FIRED UP AND IT IS ALMOST IMPOSSIBLE TO BE ABLE TO PULL ANYONE OUT TO BOOK IN.




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THIS MORNING 4/6/23 AT SHIFT DEBRIEF IT WAS BROUGHT TO MY ATTENTION BY NIGHT SHIFT OFFICER SPEER AND
 SGT LONG OF AN INCIDENT INVOLVING R/ GAY, ANTHONY. THE FOLLOWING REPORT WAS WRITTEN BY OFFICER
SPEER, AND SINCE SGT LONG WAS GONE AT THE TIME IT WAS COMPLETED, I, MYSELF TURNED IT INTO THIS
SPILLMAN REPORT

ADMIN:

LAST NIGHT ON 04/05/23 I WAS ASSIGNED TO BOOKING POST.

DURING MY DEBRIEF WITH OFC MCKINSEY, HE EXPLAINED THAT R/GAY HAD BEEN DECENT ALL DAY BUT AS SOON AS
OFC MCKINSEY WALKED OUT AND THE DOOR SHUT, R/GAY YELLED OUT OF HIS CELL " MAN I REALLY HOPE ITS NOT
SPEER TONIGHT" "HEY C.O." AND I REPLIED "YES GAY". HIS INSTANT RESPONSE WAS "AWW MAN YOU GUYS REALLY
 WANT SOME SMOKE TONIGHT" "HEY SPEER I WANT TO SPEAK TO THE SGT" I INSTANTLY CALLED OFC MAU TO GET
SGT LONG. R/GAY THEN SAID HE WANTED TO SEE MEDICAL SO I OFC SPEER CALLED DOWN TO THE NURSE AND TOLD
THE NURSE ON DUTY THAT HOLDING 1 IS REQUESTING MEDICAL. HE HAD THEN ASKED TO COME OUT TO TURN THE TV
 CHANNEL. I TOLD HIM HE WOULD HAVE TO WAIT. HE THEN SAID HE WANTED TO GO TO W2 AND AGAIN I TOLD HIM
HE WOULD HAVE TO WAIT FOR ANOTHER OFFICER. HE STARTED LAUGHING AND SAYING I WAS ON "BULLSHIT" AND
THAT I WAS THE ONLY OFFICER THAT WONT LET HIM COME OUT WHEN HE WANTS AND THEN HE STARTED TO GO ON
ABOUT ME WEIGHING 300 POUNDS AND MY EX HUSBAND ABUSED ME AND THAT THE ONLY REASON I HAVE THIS JOB IS
 TO DOMINATE MEN. HE AGAIN ASKED FOR THE SGT AND I EXPLAINED TO HIM THAT IT'S THE BEGINGING OF THE
SHIFT SO IT WOULD BE A WHILE SO SGT COULD GET THE BEGINNING OF THE SHIFT STARTED. HE KEPT PRESSING
THE BUTTON FOR MASTER CONTROL TELLING OFC MAUTHAT I SPEER NEEDED TO LEAVE BOOKING OR HE WAS GOING TO
 "BUG UP" AND IF I DIDN'T LEAVE THEN HE WOULD BE GOING TO THE HOSPITAL TONIGHT. HE STARTED TO KICK
THE DOOR AND YELL OUT OF THE CELL. HE WOULD NOT LEAVE THE MASTER CONTROL ALONE SO OFC MAU SWITCHED
CONTROL OVER TO BOOKING, AND THAT CASUED R/GAY TO EVEN GET MORE IRRATE. HE WOULD NOT STOP YELLING,
AND KICKING THE DOOR SO AFTER I FINISHED A ROUTINE CHECK I HEARD R/GAY WALK AWAY FROM THE DOOR AND I
 CLOSED HIS CHUCKHOLD BECAUSE FROM THE RULES MADE ON FEB 14 2023 THAT R/GAY AGREED TO THAT HIS
CHUCKHOLD COULD STAY OPEN UNLESS HE BECAME DISRUPTIVE AND THE WAY HE WAS ACTING WAS COMPLETELY
DISRUPTIVE NOT ONLY TO THIS OFFICER BUT TO OTHER RESIDENTS IN BOOKING.
I SPEER TOOK A RESIDENT OUT OF HOLDING 4 TO BEGIN BOOKING HIM. THE RESIDENT I HAD TAKEN OUT
                ) COINCENDENTLY I KNEW FROM ABOUT 15 YEARS AGO. WHILE I WAS BOOKING HIM IN, HE KEPT
YELLING ABOUT ME WEIGHING 300 POUNDS AND R/          TURNED AROUND AND SAID "SHES NEVER WEIGHED 300
POUNDS" WHICH CAUSED R/GAY TO GET MORE IRRATE BECAUSE A "PRISONER" WENT AGAINST HIM. R
THEN SAID "IVE KNOWN HER FOR YEARS" HAVING ANOTHER RESIDENT GO AGAINST HIM CAUSED R/GAY TO START
YELLING AT HIM. R/GAY WOULD NOT STOP EVEN THOUGH I WAS NOT SAYING ANYTHING TO HIM, I WAS GIVING HIM
NO REACTION BESIDES DOING MY CHECKS AND TRYING TO BOOK SOMEONE IN. R/GAY HAD THEN STARTED SAYING
"TAKE YOUR CLOTHES OFF SO WE CAN SEE YOUR STRETCH MARKS" "LETS SEE YOUR STRETCH MARKS" "LETS SEE
YOUR BODY"




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EVEN WITH ALL HE WAS SAYING I STILL REFUSED TO SAY ANYTHING TOWARDS R/GAY. R/GAY HAD BEGUN SMEARING
PEANUT BUTTER ON HIS WINDOW, THROWING CEREAL UNDER HIS DOOR AND THROWING PAPER OUT HIS CELL. AND
STILL YELLING AND KICKING THE DOOR.
MED PASS BEGAN APRX 2100 AND WHEN SGT LONG AND NURSE MONICA CAME INTO BOOKING, R/GAY HAD SAID THAT
HE NEEDED MEDICAL TREATMENT BUT WOULD NOT SHOW SGT OR THE NURSE HIS
WOUND, SGT LONG CONTINUED TO ASK HIM TO SEE HIS WOUND AND AFTER MULTIPLE ATTEMPTS, SGT HAD REQUESTED
 HLD 1 DOOR TO BE OPEN SO THE NURSE COULD ADDRESS HIS WOUND/ AS SOON AS THE DOOR WAS OPENED, GAY
SHUFFLED OUT INTO THE MIDDLE OF BOOKING AND STARTED YELLING, CAUSING A SCENE AND REFUSED TO GO BACK
INTO HIS CELL. SGT LONG OFFERED TO TAKE HIM TO W2 AND
                                                    D AS SOON AS HE ENTERED W2 HE STARTED YELLNIG
EVEN MORE, SCREAMING AT LONG, TELLING HIM THAT HE WASN'T GOING BACK UNLESS I SPEER WAS MOVED OUT OF
BOOKING. BECAUSE AS GAY STATES ITS NOT FAIR HE HAS TO STAY IN HIS CELL UNTIL ANOTHER OFFICER IS
PRESENT. THAT SUPER SAID HE CAN COME OUT WHENEVER HE WANTS. EVENTUALLY SGT LONG HAD REQUESTED THAT
DEPUTIES BE CALLED AND TO TRY AND DEESCUALTE THE SITUATION OFC MAU SAID HE WOULD SWITCH POST. AFTER
THE SWITCH WAS MADE AND GAY GOT WHAT HE WANTED WHICH WAS ME (SPEER) KICKED OUT OF BOOKING. R/GAY WAS
                                                                                 NIGHT.
 ESCORTED BACK INTO BOOKING AND I WAS MOVED TO MALE POD FOR THE REMAINDER OF THE NIGHT
ALL OF THIS CONFLICT STARTED A FEW WEEKS AGO WHEN I SPEER WAS BOOKING IN EITHER 2 OR 3 NEW RESIDENTS
 AND R/GAY HAD REQUESTED THE BRACKET FOR THE FOLLOWING DAY BASKETBALL GAMES. I TOLD HIM THAT I WOULD
 GET THEM FOR HIM, IT WOULD BE SOME TIME AS I WAS TRYING TO BOOK SOMEBODY IN. APRX 5-10 MINS LATER
HE AGAIN ASKED FOR THE BRACKET AND I TOLD HIM NO 1 DIDN'T HAVE THEM, I WAS TRYING TO DO SOMETHING
AND HIS INSTANT RESPONSE WAS "OH SO YOUR GUNNA BE ON SOME BULLSHIT TONIGHT" I TOLD HIM NO I WAS
TRYING TO BOOK SOMEBODY IN AND HE INSTANTLY STARTED TALKING ABOUT" BLOWING SMOKE". EVER SINCE THAT
DAY EVERY TIME I AM ASSIGNED TO BOOKING R/GAY CASUES A SCENE AND HAS SAID EVERYTHING FROM I SPEER
BEING UNPROFESSIONAL BECAUSE I WONT LET HIM OUT WHENEVER HE WANTS TO MAKING THE STATEMENT "JUST WAIT
 TILL I GET MY HANDS ON YOU"

LET IT BE KNOWN IT IS NOT ME BEING UNCOMFORTABLE OF LETTING HIM BUT MY JOB IS TO MAINTAIN THE SAFETY
 AND SECURITY OF THIS JAIL AND BY R/GAY THREATENING MY SAFEFTY I HAVE ENFORCED THAT I ONLY LET HIM
OUT WHEN ANOTHER OFFICER IS PRESENT. I HAD NO PROBLEM LETTING GAY OUT WHENEVER HE WANTED AND TAKING
HIM TO/FROM W2 WHEN HE ASKED. I HAD EVEN LET HIM OUT OF HIS CELL PAST MIDNIGHT WITH NO PROBLEM BUT
THE SECOND I WOULD NOT GET HIM WHAT HE WANTED AT THE EXACT TIME HE WANTED HE STARTS TO ACT OUT.
I UNDERSTAND MOVING POST TO TRY AND DEESCULATE A SITUATION BUT AT THE SAME TIME I FEEL ANY AUTHORITY
 I HAVE WAS RIPPED FROM ME. IT IS MADE TO BE THAT R/GAY CAN ACT OUT, CAUSE A SCENCE, THREATEN AN
OFFICER, AND THEN TELL I SPEER TO TAKE MY CLOTHES OFF WITHOUT ANY CONSEQUENCES FOR HIS ACTIONS AND
NOW I AM UNABLE TO DO MY DUTIES AS AN OFFICER.


SPEER J132
04/06/23
0828HRS




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ON 04/06/2023 I OFC. MAY WAS WORKING THE POST OF BOOKING FROM 0700-1900HOURS. AT 0730 OFC SPEER
ENTERED BOOKING AND BEGAIN TO WORK ON THE COMPUTER ON THE RIGHT SIDE OF THE BOOKING DESK. AT THIS
TIME R/GAY, ANTHONY STARTED TO YELL AND ANTAGONIZE OFC. SPEER. IT SHOULD BE NOTED THAT DURING THE
ENTIRE TIME R/GAY WAS YELLING AND TRYING TO PROVKE OFC. SPEER. OFC. SPEER DID NOT RESPOND ONE TIME
TO R/GAY. ////////EOR//////MAY137




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I, OFFICER ISHOOP #J60 WAS WORKING THE POST OF MASTER CONTROL AS OFFICER RMCBRIDE #J146 FTO FROM
1300-1900 AT THE LIVINGSTON COUNTY JAIL IN PONTIAC, IL 61764. AT AROUND 1350 AFTER OFFICER BAKER
#J70 HAD RETURNED R/ GAY, ANTHONY TO HIS CELL BK 1 R/ GAY SET THE ALARM OFF IN HIS CELL AND ASKED IF
 HE COULD GO OUTSIDE FOR REC . R/ GAY SET THE ALARM OFF AGAIN AND STATED "CALL DRAPER AND TELL HER I
 WANT TO GO OUTSIDE". I ADVISED R/ GAY THAT SUPT DRAPER HAD SENT OUT AN EMAIL ABOUT WHEN HE IS
ALLOWED TO GO TO REC. R/ GAY THEN SAID THAT I WAS A LIAR AND THAT IT DOESN'T SAY ANYTHING ABOUT
GOING OUTSIDE. AT AROUND 1355 R/ GAY SET THE ALARM OFF IN BK 1 AND STATED "IF I CUT ON MYSELF YOU'RE
                   THEN". I OFFICER SHOOP CLICKED OFF OF THE SPEAKER AS I KNOW R/ GAY IS ATTEMPTING
 GOING TO CALL HER THEN"
TO GET WHAT HE WANTS BY EITHER THREATENING TO HURT HIMSELF OR ACTUALLY HURTING HIMSELF. SGT POTTS,
OFC MCKINSEY AND OFC BAKER WERE IN MASTER CONTROL AND WITNESSED THIS INCIDENT. THIS REPORT IS
INFORMATIONAL ONLY DUE TO THE FACT THAT IF I GAVE R/ GAY A TICKET HE WOULD CUT HIMSELF BAD ENOUGH TO
 GO TO THE HOSPITAL AND IT WOULD ONLY MAKE THIS PROBLEM WORSE. EOR




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I, OFC GOMEZ, REPORTED TO DUTY @1900 - 0700, AND AT APROX. 0441 I HAD R               OUT TO USE THE
 PHONE FOR CALLS OUTSIDE OF HOLDING 1 WHEN SHE NOTICED R/GAY,ANTHONY MASTURBATING WITH HIS PANTS
DOWN IN HIS CELL. SHE THEN CAME UP TO ME AT THE DESK AND REPORTED WHAT SHE SAW. I THEN TOLD HER TO
LOCK BACK UP IN HOLDING 2 WHICH SHE COMPLIED. AS SHE WAS LOCKING UP, R/GAY CAME UP TO HIS DOOR AND
REPEATEDLY ASKED R         TO COME TOWARDS HIS DOOR, WHICH SHE REFUSED. I THEN CALLED MASTER CONTROL
 AND TOLD THEM WHAT HAD OCCURRED. MASTER THEN TOLD ME TO SPEAK TO THE SGT LONG WHO WAS CURRENTLY IN
HIS OFFICE. AS I WAS TELLING SGT LONG ABOUT WHAT HAPPENED, R/GAY OVERHEARD WHAT I WAS SAYING OVER
THE PHONE AND STARTED GETTING AGGITATED AND STARTED SWEARING AT ME. HE THEN TOOK OFF THE WRAPS THAT
WAS ON HIS ARM, SPOKE MY NAME TO GET MY ATTENTION, AND THEN STARTED CUTTING HIMSELF ON HIS INJURED
ARM WHERE HE THEN DEMANDED THAT THE NURSE TO COME DOWN TO CHECK HIM OUT.

I THEN CALLED FOR ASSISTANCE OVER THE RADIO AS WELL AS REQUESTED FOR THE NURSE AND AT APROX 0446,
OFC HANDEGAN, SGT LONG ENTERED BOOKING AND AT 0447 I CALLED FOR MASTER CONTROL TO OPEN HOLDING 1 IN
WHICH THEN SGT LONG WAS SPEAKING TO R/GAY WHO WAS HUNCHED OVER HIS TOILET CUTTING HIS ARM. AT 0448
THE NURSE CAME INTO BOOKING TO CHECK ON R/GAY. SGT LONG ASKED R/GAY TO STOP WHAT HE WAS DOING WHICH
HE REFUSED. HE ALSO REFUSED TO BE SEEN BY THE NURSE. IT WAS ONLY WHEN SGT LONG STATED THAT OFC
HANDEGAN AND I WERE TO SWITCH POSTS DID HE COMPLY WITH HIS ORDERS AND ALLOWED THE NURSE TO CHECK HIM
 OUT. AT APROX. 0508, OFC HANDEGAN AND I OFFICIALLY SWITCHED POSTS.

AT APROX. 0712, I ENTERED BOOKING TO FINISH TYPING OUT MY INCIDENT REPORT BUT OFC HANDEGAN, WHO WAS
STILL SIGNED IN INTO SPILLMAN UNDER MY NAME WAS BUSY RELEASING A RESIDENT. AT APROX. 0715, OFC BAKER
 ENTERED BOOKING TO START HIS SHIFT. THE RESIDENT WAS RELEASED AT APROX. 0722 AND OFC HANDEGAN LEFT
BOOKING AT APROX. 0724. DURING THE DURATION OF THIS TIME, R/GAY WAS HECKLING BOTH ME AND OFC
HANDEGAN REPEATEDLY WITH SLURS AND FOUL LANGUAGE. SOMETIME THROUGH 0742 AND 0807, R/GAY REPEATEDLY
THREATENED THAT HE WOULD "BUG UP" ONCE IT BECAME SGT LONG'S SHIFT ONCE MORE AT 1900 WHERE HE THEN
PIERCED HIS ARM WITH SOMETHING METALIC. AT APROX. 0807 I LEFT BOOKING AS I CONCLUDED THE END OF MY
SHIFT.

EOR GOMEZ J139




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 ON THE ABOVE DATE AT APPROX. 0530 I, C/O HANDEGAN 49, WAS CALLED TO BOOKING ALONG
WITH SGT. LONG AS C/O GOMEZ WAS HAVING A PROBLEM WITH DETAINEE GAY IN BKG- 1 . UPON
ARRIVALL GOMEZ ATATED THAT WHILE A FEMALE HE HAD JUST BOOKED WAS USING THE PHONE ,
GAY HAD PULL3D HIS PENIS OUT

AND
  D WAS MASTURBATING AT THE WINDOW AND TALING TO HER.   WHEN GOMEZ PUT HER UP GAY
STARTED CUTTING HIMSELF AND SAID HE DIDN'T WANT GOMEZ DOWN HERE OR C/O SPEER. BUT HE
 SAID I WAS ALRIGHT NOW.   SGT. LONG TALKED TO HIM FOR APPROX. 10 MIN AND HAD THE
                DRESSING.
NURSE PUT NEW DRESSING

I  WAS TOLD TO SWITCH WITH GOMEZ TO DEESCALATE THE SITUATION BUT WHILE AT THE BOOKING
 DESK GOMEZ ASKED ME WHAT HE SHOULD DO ABOUT HIM MASTURBATING IN FRONT OF THE FEMALE.
  I SAID YOU DON'T REALLY HAVE A CHOICE, YOU'LL HAVE TO WRITE HIM UP SINCE THE
FEMALE SAID SOMETHING. GAY

HEARD WHAT I SAID AND WENT OFF. HE SAID NONE OF US WERE WORKING DOWN HERE NOW. AND
 STARTED DIGGING AT HIS ARM. THE NURSE WAS NOTIFIED AND SHE SAID SHE WOULD GET TO
IT. GAY CONTINUED TO SCREAM AND SHOUT FOR AT LEAST A HALF AN HOUR MAKING THREATS AND
  SAYING HE WAS GOING TO \

TALK   TO   SUPT.   DRAPER       AND   MAKE   SURE   WE   ALL   LOST   OUR   JOBS.
                                                                             JOBS


                                                                                        C/O   HANDEGAN   49




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**********INFORMATIN ONLY**********

ON 4/16/23 I OFC BAKER WAS WORKING IN BOOKING FROM 0700-1300. AT APPROX. 0921, I HAD CALLED NURSE
CHAZ DO LOOK AT AN INJURY ON ANOTHER RESIDENT. WHEN NURSE CHAZ ARRIVED, R/GAY STOPPED HIM AND
SHOWED HIM HIS ARM THAT HE HAD STABBED WITH BITS OF METAL.   NURSE CHAZ ADVISED ME THAT R/GAY NEEDED
 TO BE TAKEN TO THE HOSPITAL. I ADVISED SGT POTTS OF THIS OVER THE PHONE AND R/GAY WHO HAD HEARD ME
 THEN STATED HE WAS REFUSING TO GO TO THE HOSPITAL TO WHICH I ALSO NOTIFIED SGT POTTS. R/GAY THEN
BEGAN TO EXPLAIN TO ME WHY HE WAS UPSET WITH NIGHT SHIFT AND THAT HE WAS GOING TO REFUSE ALL CARE
UNTIL NIGHT SHIFT CAME BACK IN AT 1900. R/GAY ALSO ADVISED ME THAT HE WAS NOT GOING TO SHOW ME THE
METAL IN HIS ARM BECAUSE "WE ARE COOL" AND HE DID NOT WANT ME INVOLED AT ALL. I THEN CONCLUDED MY
CONVERSATION WITH R/GAY AND RESUMED NORMAL DUTIES. EOR BAKER J70




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********** INCIDENT REPORT ONLY AT THIS TIME *****************

ON 4-16-23 I SGT JLONG WAS WORKING IN CHARGE POST AT LCJ FROM 1700 TO 0700. DURING SHIFT DEBRIEF
WITH SGT POTTS I WAS INFORMED THAT GAY,ANTHONY WAS NEEDING TO GO OUT TO THE HOSPITAL PER MEDICAL BUT
 GAY DECLINED TO GO.
AT APPX 1720 I CONTACTED LT HARMON AND SUPT DRAPER AS GAY IS A FEDERAL DETAINEE. SUPT DRAPER ADVISED
 TO HAVE NURSE CHAZ GO TO BOOKING AND ASSESS GAY'S NEED TO GO TO THE HOSPITAL. CHAZ WENT TO BOOKING
AND ADVISED ME AND SUPT WHEN HE GOT BACK TO MEDICAL THAT GAY WOULD NOT LET CHAZ ASSESS THE WOUND.
GAY TOLD CHAZ THAT IT WAS NOT CHAZ' PROBLEM BUT NIGHTSHIFTS.

EOR JLONG




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****************** INCIDENT REPORT ONLY AT THIS TIME ******************

REFERENCE INCIDENT 5224 AND 5226

I SGT JLONG WAS WORKING IN CHARGE POST FROM 1700 TO 0700 ON 4-16-23
AT APPX 1915 I WAS ADVISED BY C/O HANDEGAN THAT HE HAD JUST COME FROM W2 WITH THE NURSE. HANDEGAN
TOLD ME THAT GAY WAS ACTING OUT IN FRONT OF THE WHOLE POD THREATENING STAFF INCLUDING HIMSELF.
I GATHERED AVAILBLE OFFICERS, HANDEGAN, SHOOP, MAY, AND MYSELF AND ENTERED W2 AT APPX 1920. HANDEGAN
 GAVE GAY COMMANDS THAT HE NEEDED TO EXIT W2 AND GO BACK TO BOOKING. GAY STATED FUCK YOU I'M NOT
GOING ANYWHERE. GAY SAID I DID NOTHING WRONG YOU ARE NOT LOCKING ME DOWN. HANDEGAN GAVE MORE ORDERS
AND THEY WERE REFUSED AS WELL.
GAY STATED TO ME THAT I WAS LOCKING HIM DOWN IN HIS CELL BK1 TO IMPRESS HANDEGAN. I STATED I'M
LOCKING YOU DOWN FOR REFUSING ORDERS TO LOCKDOWN JUST LIKE THE ORDERS YOU REFUSED LAST NIGHT FROM
C/O GOMEZ AND ASSISTANCE WAS CALLED TO BOOKING SO GOMEZ COULD GO DO HIS JOB IN THE SALLYPORT WITH
THE NEW ARREST. GAY CONTINUED TO ARGUE WITH ME.
I GAVE ORDERS FOR EVERYONE IN THE DORM TO GET BACK TO THE REAR OF THE DORM. I HAD TO GIVE THOSE
ORDERS SEVERAL TIMES TO GET EVERYONE BACK.
AT SOME POINT GAY STARTED BACKING UP AND PICKED TWO TABLETS, ONE IN EACH HAND AND STATED GO AHEAD
AND TOUCH ME AND SEE WHAT HAPPENS. I SAID YOU'VE BEEN GIVEN MULTIPLE CHANCES TO WALK TO BOOKING. AS
GAY STARTED BACKING UP AND WE STARTED SURROUNDING HIM AND THE WAY OUT OF THE DORM WAS CLEAR GAY SAYS
 TO HANDEGAN OH YOU GOING TO TASE HUH.
GAY THEN SAID YOU NEED TO SEND ME TO THE HOSPITAL. I SAID OK LET'S GO TO BOOKING AND GET YOU CUFFED
UP. WE ALL EXITED W2 AND PROCEEDED TO BOOKING. I GAVE ORDERS FOR HANDEGAN, SHOOP, AND MAY TO GET GAY
 READY FOR TRANSPORT. GAY SAT DOWN AND COMPLIED.
I CALLED THE TRANSPORT OFFICER I HAD ON CALL AND AS SOON AS I HUNG UP THE PHONE GAY STATED YOU GUYS
ARE FUCKING SENDING ME TO OSF AREN'T YOU. I SAID YES ST JAMES. A FEW SECONDS LATER GAY STATED FUCK
THAT I AIN'T GOING. I THEN GAVE ORDERS TO REMOVE AND SECURE THE RESTRAINTS AND SECURE HIM IN THE
CELL.
GAY THEN STATED LONG ANY TIME YOUR TEAM IS WORKING I'M GOING TO FUCK YOUR SHIFT AS MANY TIMES AS
POSSIBLE.

EOR JLONG




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**************** INCIDENT REPORT ONLY     DUE TO GAY ,ANTHONY CUTTING ON          HIMSELF   ANY   TIME    WE
HAVE TRIED TO HOLD HIM ACCOUNTABLE        FOR HIS ACTIONS ***************

     ON THE ABOVE DATE AND APPROX TIME I, C/ O HANDEGAN 49 , ESCORTED THE NURSE INTO (
W2 ) TO STAND BY WHILE SHE CHANGED DETAINEE GAY'S DRESSINGS.   AS SOON AS WE WALKED IN
  GAY STATED " WHAT " THE NURSE SAID " DO YOU  WANT YOUR BANDAGES CHANGED ?" GAY SAID
" YES " AND THE NURSE LAID

THE BANDAGES ON THE TABLE. GAY SAID " YOU THE NURSE, I AIN'T GONNA DO IT !" SHE SAID
" YES I KNOW THAT, I'M JUST GETTING EVERTHING READY ". GAY THEN STOOD UP AND YELLED
AT ME " COME ON HANDEGAN, FOLLOW ME INTO THE SHOWER. I'LL FUCK YOU UP. YOU A PUSSY
 IF YOU DON'T GO TO THE SHOWER ! '

I  SAID " DO YOU WANT YOUR BANDAGES CHANGED OR NOT ? " GAY RESPONED WITH " I THOUGHT
 SO, YOU IS A BITCH ASS ! IF YOU WAS A MAN YOU WOULD HAVE FOLLOWED ME IN THERE ! "
THE NUJRSE THEN SAID " LAST CHANCE, AM I CHANGING YOUR DRESSING? " GAY SAID YES AND
SAT DOWN WHILE SHE CLEANED AND

DRESSED HIS WOUNDS. THE ENTIRE TIME        SHE WAS   CLEANING AND DRESSING HIS WOUNDS HE KEPT
THREATENING ME. AS WE WE'RE LEAVING        HE SAID   " YEA, GET YOUR BITCH ASS OUT OF HERE!"


     AFTER LEAVING W2 I WENT TO SGT. LONG AND SAID THAT I NEEDED HELP AS I WAS
TAKING GAY BACK TO HIS CELL FOR MAKING THREATS. SGT. LONG, C/O'S MAY, SHOOP AND
MYSELF WENT INTO W2 AND GAY WAS TOLD HE HAD TO GO BACK TO BK1. GAY ASKED " WHY I
GOT TO GO BACK "    SGT LONG SAID BECAUSE

YOU THREATENED AN OFFICER. GAY STATED SEVERAL TIMES THAT HE WAS NOT LEAVING AND PICKED
  UP ( 2 ) TWO TABLETS, ( 1 ) ONE IN EACH HAD.   AFTER REFUSIING SEVERAL DIRECT ORDERS
FORM SGT. LONG TO RETUN TO HIS CELL HE FINALLY WALKED OUT AND RETUNED TO HIS CELL.
THOUGH OUT THE NIGHT GAY

CONTINUED MAKING THREATS ABOUT BEATING MY ASS         AND SINGING " HANDEGAN          IS AN OLD    MAN      AND
  HE IS GAY " FOR AN HOUR AND A HALF WHILE            I WAS BOOKING ANOTHER           DETAINEE.

        AT APPROX. 0632 GAY STARTED 0632     GAY STARTED YELLING AT ME SAYING "              HE   WAS
GOING    TO BITCH SLAP ME, KNOCK ME THE      FUCK OUT AND LAY ME OUT ON CAMERA               "




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                                                                                         THANK   YOU,

                                                                                C/O   HADEGAN    49




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*************** INCIDENT REPORT ONLY ***********************

ON 4-16-23 I SGT JLONG WAS WORKING IN CHARGE POST AT LCJ FROM 1700 TO 0700. AT APPX 2215 I AND NURSE
 SUSAN ENTERED BOOKING FOR MED PASS AND GAY,ANTHONY WAS SCREAMING THAT HE NEEDED THE NURSE. SUSAN
                                                                                          TREATMENT.
SAID SHE WOULD BE THERE IN A MINUTE. GAY REPLIED WITH YOU ARE FUCKING REFUSING ME MEDICAL TREATMENT

SUSAN GAVE                 HIS MEDS. AS         WAS FINISHING TAKING HIS MEDS HE STARTED TO CHOKE A
BIT AND STARTED TO HUNCH OVER. I GRABBED HIM IN CASE HE FELL. AS THIS WAS HAPPENING GAY WAS
SCREAMING OUT LET THAT BITCH CHOKE AND DIE REPEATEDLY. LET THAT BITCH FALL SO HE CAN HAVE A NEW SCAR
 ON HIS HEAD.
WHEN WE GOT         SECURED WE CLOSED THE BLINDS ON ALL THE CELLS IN BOOKING. SUSAN HAD US CUFF GAY
AND HAVE HIM SEATED ON THE BENCH. GAY STARTING SAYING LONGS BITCH ASS WANTS CUFFS ON WHAT A PUSSY
BITCH MOVE. I SAID NO THE NURSE WANTS YOU CUFFED.
THE NURSE ASSESED AND CLEANED UP GAYS SELF INFLICTED INJURIES AND GAY WAS SECURED BACK INTO BK1. GAY
 WAS OFFERED CLEANING SUPPLIES BUT REFUSED AND TOLD US TO FUCK OFF. THE NURSE TOLD GAY SHE WOULD
CONTACT THE DOCTOR.
AS SOON AS THE NURSE LEFT GAY STATED FUCK THAT BITCH SHE IS NO NURSE, SHE DOESN'T HAVE A FUCKING
CLUE HOW TO DO HER JOB. THAT FUCKING BITCH IS REFUSING ME MEDICAL CARE.
GAY SAID TO ME YOU HAVE TO SEND ME OUT NOW BUT I'M NOT GOING WITH YOU, HANDEGAN, WILLIAMSON, AND
THEN ABOUT 6 OR 8 MORE NAMES. I SAID IT IS NOT UP TO ME IT'S UP TO THE DOCTOR.
THE NURSE LATER INFORMED ME THAT GAYS INJURIES WERE SUPERFICIAL AND NOT LIFE THREATENING AND HE
COULD GO OUT WHEN JAIL HAD STAFF TO SEND HIM.
THE NURSE ALSO ADVISED THE DOCTOR WAS ORDERING FINGER FOOD FOR GAY AND ALL CUTLERY, POSSIBLE SHARP
OBJECTS SHOULD BE CONFISCATED FORM HIM WHEN HE SENT TO THE HOSPITAL.

EOR JLONG




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118-FAILURE TO INJEST PRESC MED
201-FIGHTING/THREAT ANOTHER
MEDICAL TREATMENT

************** INFORMATION ONLY AT THIS TIME ***************************

ON 4-16-23 I SGT JLONG WAS WORKING IN CHARGE POST AT LCJ FROM 1900 TO 0700. DURING MORNING PRESS
SUSAN AND I ENTERED BOOKING AND GAY,ANTHONY BECAME VERY AGGITATED AND STARTED SCREAMING AT THE NURSE
 SAYING THAT SHE NEEDED TO SEND HIM OUT TO THE HOSPITAL. SHE SAID THAT TRANSPORT WAS SET UP AND HE
REFUSED. GAY INSTANTLY GOT EVEN LOUDER AND THREATENED THE NURSE WITH BODILY HARM AND STATED WHEN I
                                                   BAD.
GET OUT I'M GOING TO FIND YOU AND FUCK YOU UP REAL BAD
THE NURSE ASKED IF GAY WANTED HIS MEDS. GAY SAID YES AND THE NURSE PUT THEM IN A CUP ON THE CHUCK.
AS SOON AS I HAD OPENED THE CHUCKHOLE GAY STUCK HIS ARM OUT AND CONTINUED TO ARGUE ABOUT HIS SELF
INFLICTED WOUNDS AND INSISTED SHE CHECK HIS ARM. THE NURSE ASSESED HIS ARM AND WIPED IT WITH SOME
SPRAY AND GAUZE.
GAY CONTINUED YELLING AT THE NURSE ABOUT HOW HE IS GOING TO CONTACT HIS ATTORNEYS AND SHE AND
EVERYONE AT THIS JAIL WILL BE LOOKING FOR A NEW JOB BECAUSE NO ONE HERE KNOWS WHO HE IS.
I THEN ASKED GAY IF HE WAS GOING TO TAKE HIS MEDS. GAY REPLIED FUCK NO I'M HOLDING THESE HOSTAGE AND
 THEN CONTINUED YELLING AT THE NURSE ABOUT HOW HE NEEDS TO GO TO THE HOSPITAL. GAY THEN ASKED ME
WHEN HE WAS GOING. I TOLD HIM AS SOON AS WE HAVE OFFICERS AVAILABLE. GAY THEN SAID YOU JUST WAIT.
YOU MADE ME WAIT AND WHEN I SEE TRANSPORT OFFICERS SHOW UP FOR ME I'M GOING TO SEND THEM HOME
BECAUSE I'M REFUSING.
WE THEN CONTINUED ON AND PASSED MEDS TO THE REST OF BOOKING. GAY CONTINUED SCREAMING, YELLING AND
BEING DISRUPTIVE THE ENTIRE TIME WE WERE IN BOOKING.
WHEN WE CLEARED BOOKING I ASKED ABOUT WOUNDS. THE NURSE SAID SAME AS LAST NIGHT. GAY NEEDS TO GO
WHEN YOU HAVE STAFF AVAILABLE BUT WOUNDS ARE SUPERFICIAL AND NOT LIFE THREATENING.

EOR JLONG




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I OFC SPEER WAS WORKING MASTER CONTROL ON 04/25/23 DURING THE HOURS 1900-0100 WHEN THIS OFC WAS
WATCHING THE CAMERAS TO W2 DOOR BECAUSE R/GAY HAD REQUESTED TO GO BACK INTO BOOKING HOLDING 1.
R/      HAD ALSO COME UP TO THE W2 DOOR TELLING OFC GOMEZ TO THAT HE WAS GOING TO BOOKING TO USE THE
 PHONE. OFC GOMEZ TOLD HE COULD NOT DUE TO BOOKING SOMEBODY IN. R/      PROCEDED TO TELL OFC GOMES
THAT HE NEEDED TO MAKE CALLS. R/GAY ANYTHONY WALKS OUT OF W2 AND TELLS R/      "LETS GO, I WONT
LOCKDOWN TILL YOU MAKE CALL" I OFC SPEER PROCEDED TO CALL OVER THE RADIO FOR ASSISTANCE. I THEN OVER
 HEARD R/GAY ANTHONY SAY " ILL PAY SOMEONE TO KNOCK SPEER BITCH ASS OUT" AND R/      CONTINUED TO
ARGUE WITH OFC GOMEZ ABOUT HOW ADMIN HAS SAID HE CAN USE THE PHONE WHENEVER HE WANTS.. SGT LONG AND
OFC HANDEGAN ENTERED THE BACK OF THE WORK RELEASE HALLWAY WHERE THE SITUATION WAS CONTROLLED


EOR
SPEER


***INFORMATIONAL****




                                                               U.S. v. Gay Sentencing-000053
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